Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 1 of 15




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   DONALD J. TRUMP, WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/

           ORDER FOLLOWING CIPA SECTION 3 SUPPLEMENTAL BRIEFING

          THIS MATTER comes before the Court following the Sealed Hearing on the Motions for

   Protective Order pursuant to Section 3 of the Classified Information Procedures Act (CIPA)1 and

   the supplemental briefs filed thereafter by the Office of the Special Counsel (OSC) and Defendants

   Nauta and De Oliveira [ECF No. 162 (OSC brief); ECF No. 163 (Defendant Nauta brief); ECF No.

   164 (Notice of Adoption by Defendant De Oliveira); see ECF Nos. 84, 124, 127, 149]. To avoid

   delay in discovery review by defense counsel, the Court entered protective orders following the

   Sealed Hearing; granted the OSC’s motion as to Defendant Trump; and granted in part the OSC’s

   motions as to Defendants Nauta and De Oliveira [ECF Nos. 151–153]. The Court left open the

   need to modify and/or supplement those protective orders, however, in light of language offered

   by the OSC purporting to use Section 3 of CIPA (not Section 4) to restrict Defendants Nauta and




   1
    Pub. L. 96–456, 94 Stat. 2025, 18 U.S.C. App. III §§ 1–16 (1980) (hereinafter cited as “CIPA”
   with the associated section).
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 2 of 15

                                                                CASE NO. 23-80101-CR-CANNON


   Oliveira almost entirely from reviewing classified discovery to be produced in the case, and then

   placing the burden to justify otherwise on defense counsel [ECF No. 84-1 ¶ 26(j); ECF No. 127-1

   ¶ 26(j)]. The Court also ordered supplemental briefing on the meaning of Section 3 [ECF No. 153

   pp. 1–2].

          Upon a review of these materials and the full record, and pursuant to the statutory text and

   context of CIPA, the Court hereby reaffirms the protective orders previously entered in this case

   pursuant to CIPA Section 3 [ECF Nos. 150–152].2 Any request by the OSC to delete specified

   items of classified discovery from any Defendant, or to substitute classified discovery with a

   summary or statement of relevant facts from any Defendant, shall be made in the form of a pre-trial

   motion under Section 4 in accordance with deadlines to be set by separate order, and then later

   under Section 6, if applicable, for use of classified information at trial.3 This Order does not

   authorize the disclosure of any classified information to any Defendant beyond the terms of the

   existing protective orders.

                                                OVERVIEW4

          The OSC moved for entry of a protective order as to all three Defendants “pursuant to

   Section 3 of the Classified Information Procedures Act” [ECF Nos. 84, 127]. The full text of




   2
     The protective order entered as to Defendant Trump and associated defense counsel was entered
   without objection except as to a conferral-location issue on which the Court overruled Defendant
   Trump’s objection [ECF Nos. 104, 149]. This Order, therefore, concerns primarily the legal
   issues raised as to the OSC’s proposed protective orders as to Defendants Nauta and De Oliveira.
   3
     Earlier in this case, the OSC submitted its Section 10 notice to defense counsel for Defendant
   Trump only, it appears [ECF No. 157]. Further Section 10 discussion may be warranted to the
   extent the Section 10 notice is based on information not produced to Defendant Trump.
   4
     This Order assumes an understanding of the procedural history and factual background of this
   case to date, providing relevant information as necessary to illuminate the discussion.


                                                   2
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 3 of 15

                                                                CASE NO. 23-80101-CR-CANNON


   Section 3 states as follows: “Upon motion of the United States, the court shall issue an order to

   protect against the disclosure of any classified information disclosed by the United States to any

   defendant in any criminal case in a district court of the United States.” CIPA § 3. The protective

   orders are not brought pursuant to any other section of CIPA.

          As proposed by the OSC, and as later issued by the Court pending further briefing, the

   protective orders applicable to Defendants Nauta and De Oliveira give their “defense attorneys”

   the ability to review the classified discovery produced by the OSC under strict security procedures

   as delineated therein [ECF Nos. 84-1, 151–152]. But, the protective orders specifically prohibit

   those “defense attorneys” from sharing with their client “defendants” any of the classified

   discovery in any form, with the exception of one document marked as classified that Defendant

   Nauta is said to have already seen pre-indictment [ECF Nos. 84-1, 127-1; ECF Nos. 151–152].5

   The proposed protective orders then contemplate a procedure by which the respective defense

   attorneys can seek permission to share specific classified discovery with Defendants—specifically,

   by attempting to justify their request to the satisfaction of the OSC, or by obtaining a Court order

   authorizing disclosure of the specific information to “defendants,” assuming no interlocutory

   appeal or other CIPA remedy pursued by the OSC [ECF No. 84-1 ¶ 26(j); ECF No. 127-1 ¶ 26(j)].

   More broadly, and with the aim of preventing disclosure of classified information produced in

   discovery, the protective orders as proposed—and ultimately entered—contain specific restrictions

   on the manner of review of classified discovery and impose severe sanctions for violations of the

   protective orders, including contempt of Court and referral for criminal prosecution



   5
     Prior estimates of the volume of classified discovery have hovered around 3,500 pages but have
   been the subject of debate in numerous discovery filings, including pending motions for a
   continuance of pre-trial and trial deadlines [ECF No. 153 p. 2 n.2]. Such matters are beyond the
   scope of this Order but will be addressed separately following the November 1, 2023, hearing on
   scheduling [ECF No. 192].
                                                    3
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 4 of 15

                                                                  CASE NO. 23-80101-CR-CANNON


   [ECF Nos. 84-1, 127-1, 151–152].

          In its filings and argument during the Sealed Hearing, the OSC takes the position that the

   term “defendant” in Section 3 means, essentially, defense counsel to the exclusion of defendant.

   In the OSC’s view, even though Section 3 refers to “defendant”—and even though Congress

   elsewhere in CIPA specifically referred to “any attorney of the defendant” as distinct from “the

   defendant,” see CIPA § 2—the Court nevertheless must read the term “the defendant” in Section

   3 to mean “attorney for the defendant” and then simultaneously interpret Section 3 to exclude “the

   defendant” facing criminal indictment, at least in cases where the government proffers a basis to

   object to such disclosure pretrial.

          For the reasons that follow, the Court cannot agree with this broad and atextual

   interpretation, which although presented as “supported by the statutory text” of CIPA

   [ECF No. 162 p. 4], really amounts to an expedient reading of Section 3 that is at odds with its

   plain meaning. This is not to say that the OSC will be unable to make the required showing to

   authorize deletion or substitution of discoverable classified information, or parts thereof, from

   Defendants. But the mechanism by which to make that showing for pre-trial discovery purposes

   is Section 4, not Section 3.

                                    RELEVANT PROVISIONS OF CIPA

          The Court below summarizes the relevant provisions of CIPA, enacted in 1980 “to provide

   certain pretrial, trial, and appellate procedures for criminal cases involving classified information.”

   94 Stat. 2025.

          Section 1 defines “classified information” to “mean[] any information or material that has

   been determined by the United States Government pursuant to an Executive order, statute, or

   regulation, to require protection against unauthorized disclosure for reasons of national security



                                                     4
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 5 of 15

                                                                  CASE NO. 23-80101-CR-CANNON


   and any restricted data . . . .” CIPA § 1.

          Section 2 permits any party, after indictment, to “move for a pretrial conference” to

   establish the timing and schedule for matters related to classified discovery.            CIPA § 2.

   Importantly here, Section 2 twice distinguishes between “the defendant” and an “any attorney for

   the defendant” by providing that “[n]o admission made by the defendant or by any attorney for the

   defendant at such a conference may be used against the defendant unless the admission is in writing

   and is signed by the defendant and by the attorney for the defendant.” Id. (emphases added).

          Section 3 is one sentence in length and provides as follows: “Upon motion of the United

   States, the court shall issue an order to protect against the disclosure of any classified information

   disclosed by the United States to any defendant in any criminal case in a district court of the United

   States.” CIPA § 3.

          Section 4, in pertinent part, permits the court, “upon a sufficient showing,” to

          authorize the United States to delete specified items of classified information from
          documents to be made available to the defendant through discovery under the
          Federal Rules of Criminal Procedure, to substitute a summary of the information
          for such classified documents, or to substitute a statement admitting relevant facts
          that the classified information would tend to prove.

   CIPA § 4.    Section 4 also allows the court to allow the United States “to make a request for such

   authorization in the form of a written statement to be inspected by the court alone.” Id.

          And Section 6, at one point referred to as the “heart of the bill,” S. Rep. 96-823, at p. 7

   (1980), permits the United States to seek a hearing for the court to “make all determinations

   concerning the use, relevance, or admissibility of classified information that would otherwise be

   made during the trial or pretrial proceeding.” CIPA § 6. Prior to any Section 6 hearing, “the

   United States shall provide the defendant with notice of the classified information that is at issue,”

   including “the specific classified information at issue whenever that information previously has



                                                     5
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 6 of 15

                                                                  CASE NO. 23-80101-CR-CANNON


   been made available to the defendant by the United States.” Id. “When the United States has

   not previously made the information available to the defendant in connection with the case, the

   information may be described by generic category.” Id. Section 6 also permits the court to order

   the United States to “provide the defendant, prior to trial, such details as to the portion of the

   indictment . . . at issue in the hearing as are needed to give the defendant fair notice to prepare for

   the hearing.” Id. And where the court authorizes disclosure of classified information under

   Section 6, Section 6 allows the court to use “alternative procedure[s] for disclosure of classified

   information,” namely, substitution of such classified information with relevant facts or substitution

   by summaries so long as either the substitution or summary “provide[s] the defendant with

   substantially the same ability to make his defense as would disclosure of the specific classified

   information.” Id.     Finally, Section 6 provides that, whenever the United States objects to a court

   order authorizing disclosure of information to the defendant under Section 6, the court (following

   a possible appeal by the United States) shall order “the defendant” not to disclose the information

   and then “shall dismiss the indictment or information,” or alternatively, elect to “dismiss[]

   specified counts of the indictment or information” or to “strik[e] or preclude[e] all or part of the

   testimony of a witness.” Id.6

          Aside from the particular provisions of CIPA, it is understood that Congress in CIPA did

   not intend to weaken or broaden a criminal defendant’s rights or to alter preexisting standards

   related to the use or admissibility of information in such cases.7 Instead, CIPA is a procedural



   6
     CIPA contains ten additional sections, the basic import of which is to add procedures related to
   notice of classified information and to publish guidelines and reports related to prosecutions
   involving classified information. CIPA §§ 5, 7–15.
   7
     See Section 2054 of the Department of Justice’s Criminal Resource Manual, Part I (hereinafter
   “DOJ Criminal Resource Manual, Section 2054”) (“CIPA is a procedural statute; it neither adds


                                                     6
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 7 of 15

                                                                   CASE NO. 23-80101-CR-CANNON


   mechanism designed to fully protect those rights while simultaneously creating procedures to

   anticipate and rule on matters related to classified discovery. See United States v. Dumeisi, 424

   F.3d 566, 578 (7th Cir. 2005) (“It is essentially a procedural tool that requires a court to rule on

   the relevance of classified information before it may be introduced.”); United States v. Wilson, 901

   F.2d 378, 379 (4th Cir. 1990) (“Under CIPA, prior to the introduction of evidence, a court rules

   on the relevance of classified documents to permit the government to decide whether it wants to

   proceed with prosecution despite the attendant revelations of classified information.”).8


   to nor detracts from the substantive rights of the defendant or the discovery obligations of the
   government.”) See https://www.justice.gov/archives/jm/criminal-resource-manual-2054-
   synopsis-classified-information-procedures-act-cipa (last updated January 17, 2020).
   8
     This characterization of CIPA, expressed in caselaw and Section 2054 of DOJ’s Criminal
   Resource Manual, also appears throughout the legislative history. See S. Rep. No. 96–823, at 8
   (1980) (“This provision is intended to retain current practices. A defendant should not be denied
   the use of information that he would otherwise use simply because of the procedures in this
   bill. Thus, on the question of a standard for admissibility of evidence at trial, the committee
   intends to retain current law regardless of the sensitivity of the information.”); id. at 9 (“This
   provision rests on the presumption that the defendant should not stand in a worse position, because
   of the fact that classified information is involved, than he would without this Act.”); H.R. Rep.
   No. 96–831, pt. 1, at 10 (1980) (“H.R. 4736, as amended, establishes these procedures [for
   resolving classified information issues prior to trial]. It does so in a manner fully protective of
   the defendant’s rights, utilizing techniques employed by courts on an ad hoc basis many times in
   the past.”); id. at 14 (“It is the Committee’s intent that the existing standards of use, relevance,
   and/or admissibility of information or materials in criminal trials not be affected by H.R.
   4736. The words ‘make all determinations concerning the use, relevance, or admissibility of the
   classified information at issue that would otherwise be made during the trial or pre-trial hearing’
   which appear in section 102(a)(2)(A), were carefully chosen to reflect this intent.”) (citing cases
   concerning the protection of a criminal defendant’s rights to access information that may be
   material to his defense); id. at 27 (“Section 109(b) [current Section 4 in substance] is not intended
   to affect the discovery rights of a defendant. Rather, it is a recognition that existing discovery
   provisions may be unclear when classified information is involved. Therefore, it is intended to
   back up existing procedures, and take effect only after discovery of classified information has been
   ordered, pursuant to Rule 16.”); H.R. Rep. No. 96–831, pt. 2, at 3 (1980) (“It is not intended to
   infringe on a defendant’s right to a fair trial or to change the existing rules of evidence and criminal
   procedure. Rather it is intended to provide uniformity, rationality and consistency to the present
   system.”); id. at 6 (“It is the Committee’s intent that there be no impairment of either the
   defendant’s ability to present his case or his right to a fair trial as a result of the operation of this
   section.”); id. at 7 (“Indeed, it is the Committee’s intent that all hearings conducted under section


                                                      7
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 8 of 15

                                                                 CASE NO. 23-80101-CR-CANNON


                                                 DISCUSSION

            Turning now to the section of CIPA directly at issue, Section 3 commands a court, in

   mandatory terms, to issue a protective order “to protect against the disclosure of any classified

   information disclosed by the United States to any defendant in any criminal case.” CIPA § 3.

   The plain meaning of this provision is that a protective order must issue governing all classified

   information that is disclosed by the government to a criminal defendant. No more, no less.

   Unlike Section 2, supra p. 5, Section 3 does not refer to classified information disclosed to “any

   attorney for the defendant.” Nor does it use any language to qualify the reference to “any

   defendant” in a manner suggestive of restricting a defendant’s right to discovery under basic Rule

   16 and discovery principles. And, even in the relevant DOJ Criminal Resource Manual charged

   with explaining the provisions of CIPA, Section 3 is not characterized as imposing upon the

   defendant an obligation to justify his right to receive discoverable information in the way the OSC

   proposes here [ECF No. 84-1 ¶ 26(j)].9

            Section 4, by contrast, is the place in CIPA where the Court, following a “sufficient

   showing” by the United States (potentially on an ex parte basis), decides whether to withhold from

   a defendant discoverable information or, alternatively, to replace such discoverable information

   with substitutes or statements of relevant facts to be proven by that classified information.

   CIPA § 4. In this fashion, Section 4 is the means by which to regulate discovery consistent with



   102 and 103 [what would later become Section 106] of the bill will be fully adversary and will be
   concerned only with information to which the defendant has had complete access.”); 126 Cong.
   Rec. 26428, 26503 (1980) (“It is to be emphasized that the bill does not alter the existing standards
   for determining relevance or admissibility.”); id. at 26504 (referencing legislators’ effort not to
   “imping[e] on the rights of criminal defendants”) (“It is primarily a procedural bill. It does not
   attempt to alter substantive rights or to change the rules of evidence or criminal procedure.”).
   9
       DOJ Criminal Resource Manual, Part I.C.

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Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 9 of 15

                                                                 CASE NO. 23-80101-CR-CANNON


   Rule 16(d)(1). See Section 2054, DOJ Criminal Resource Manual (equating Section 4 to Rule

   16(d)(1)).10 Congress in CIPA thus understood how to refer to “any attorney for the defendant”

   when necessary, see CIPA § 2, yet opted for no such restriction in Section 3 or elsewhere in CIPA.

   And Congress placed in Section 4 the mechanism for deletion/substitution of discovery materials

   following a proper showing by the United States.

          Against the backdrop of these provisions, the OSC attempts to maneuver its way around

   the plain meaning of Section 3 and the surrounding sections. Its arguments lack merit.

          The OSC makes the uncontroversial point, for example, that “the term ‘defendant’ includes

   the individual defendant and ‘counsel alike’” [ECF No. 162 p. 4 (quoting Sealover v. Carey

   Canada Inc., 996 F.2d 42, 46–47 (3d Cir. 1993) (emphasis added))]; that “‘any reasonable

   interpretation of the term [defendant] must include the defendant’s lawyer as well”

   [ECF No. 162 p. 5 (quoting United States v. Taylor, 659 F.3d 339, 348 (4th Cir. 2011) (emphasis

   added))]; that courts regularly use the term “defendant” when referring to a defendant’s counsel

   [ECF No. 162 p. 8]; and that defendants usually are deemed “bound” by the acts of their

   agent-attorneys [ECF No. 162 p. 5 (quoting New York v. Hill, 528 U.S. 110, 115 (2000))].

          All of this is generally unobjectionable—except that it does not reflect the starkly different

   posture presented here. This is not a situation in which the United States, as it ordinarily does,

   makes discovery available to a defendant’s attorney on the understanding that the attorney will,

   and should, review the discovery with defendant. Quite the contrary, what the OSC advances

   here, in almost blithe terms, is that it can satisfy its discovery obligations by giving discovery to



   10
      H.R. Rep. 96-831, pt. 1, at 27 (1980) (indicating that Section 4 of CIPA—formerly Section
   109(b), and materially unchanged from the original language—implements and “backs up” Fed.
   R. Crim. P. 16(d)(1)); see also S. Rep. 96-823, at 6 (1980) (explaining that Section 4 “should be
   viewed as clarifying the court’s powers under Federal Rule of Criminal Procedure 16(d)(1)”).

                                                    9
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 10 of 15

                                                                CASE NO. 23-80101-CR-CANNON


   the agent-attorney and then banning that attorney (on penalty of criminal prosecution) from sharing

   any of it with his principal, the defendant. This broad theory is not consistent with agency

   principles or with Rule 16, Brady, or the Jencks Act.11 Fed. R. Crim. P. 16(a)(1)(E) (requiring

   government to permit defendant to review items “material to preparing the defense” that are in

   government’s possession, custody, or control). Although the OSC offers a handful of non-binding

   examples of situations where courts, in limited circumstances [ECF No. 162 p. 1012], appear to

   restrict portions of discovery from defendants while permitting defense attorneys to review the

   materials, those instances do not displace the foundational principal undergirding Rule 16 that

   discovery is available to the defendant. See United States v. Jordan, 316 F.3d 1215, 1249–53



   11
      2 David Kris & J. Douglas Wilson, National Security Investigations and Prosecutions § 26:5
   (3d ed. 2019, rev. 2023) (“Standing alone, the fact that information is classified does not excuse
   the government from producing it in discovery. Instead, if classified information is subject to
   discovery under Brady, Rule 16, or the Jencks Act, the government has three options. First,
   Intelligence Community personnel and Department of Justice prosecutors can make an effort to
   determine whether the information can be declassified. Declassification obviates the need to rely
   on CIPA and greatly simplifies both the discovery process and trial. Second, for information
   subject to Rule 16, the government may move for an order under Rule 16(d) limiting its obligation
   to produce classified information. Third, the government may invoke CIPA Section 4, which
   governs discovery of classified information.” (footnote omitted)).
   12
      See United States v. Lee, 374 F.3d 637, 642, 652 (8th Cir. 2004) (not permitting defendant to
   know identity of some witnesses until closer to trial because of witness intimidation concerns while
   permitting attorney to know their identities sooner); United States v. Herrero, 893 F.2d 1512,
   1524–26 (7th Cir. 1990) (withholding information from defendant regarding a government
   informant’s identity “who did not even testify and thus offered no evidence against the defendant,”
   while allowing defense counsel to know the informant’s identity); United States v. Byrd, No. 22-
   CR-497, 2023 WL 2822154, at *1–2 (S.D.N.Y. Apr. 6, 2023) (labeling some discovery material
   as “Attorneys’ Eyes Only,” while allowing the government, in writing, to disclose “Attorneys’
   Eyes Only” material to defendant at any time without further court order); United States v. Cousin,
   No. 20-CR-10071, 2022 WL 314853, at *36 (D. Mass. Feb. 2, 2022) (agreeing, for purposes of a
   pre-trial motion to compel, to withhold from defendants the identity of government confidential
   informant, where defense counsel represented to already know the identity); United States v.
   Ornelas, 853 F. App’x 80, 87 (9th Cir. 2021) (holding that district court “abused its discretion in
   failing to at least order that the materials” related to the identity of a law enforcement agent who
   died before trial be disclosed to defense counsel only, “as [defendant] himself suggest[ed] in his
   brief” (emphasis added)).
                                                   10
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 11 of 15

                                                                  CASE NO. 23-80101-CR-CANNON


   (11th Cir. 2003) (explaining in detail the government’s discovery obligations to “the defendant”

   under Rule 16). And, even if the restriction of discovery to defendants is necessary and

   permissible under Rule 16 in certain circumstances, the place to evaluate those issues is not Section

   3 but rather Section 4, which does provide a mechanism by which to seek Court restrictions on a

   defendant’s access to discovery following a sufficient government showing. All of this reveals a

   more fundamental point: while the OSC stresses the simple notion that the term “defendant,” in

   common parlance, “includes” a defendant’s attorney [ECF No. 162 p. 4], its argument casually

   and quickly separates that conjunctive equation into something meaningfully different, i.e., going

   from (a) “defendant” includes “defendant” and attorney acting as agent of defendant [ECF No.

   162 pp. 4–5], to (b) “defendant” means defendant or defense counsel to the exclusion of defendant

   [ECF No. 162 pp. 6–8, 11–17]. That exclusion-from-defendant distinction is important to OSC’s

   position, yet nowhere is it contemplated in the text of CIPA or in CIPA’s legislative history to the

   extent it bears on this analysis.13 14 Indeed, as noted, CIPA effected no reduction or broadening


   13
      H.R. Rep. No. 96-831, pt. 1, at 26 (noting that section 109(a) [now Section 3 unchanged]
   requires that a protective order issue, if requested, “whenever the government discloses classified
   information to a defendant in connection with a prosecution, e.g., Brady and Jencks material,” with
   the details of such orders varying according to the needs of the particular case but generally
   requiring security and storage procedures to prohibit disclosure of information); H.R. Rep. No.
   96-831, pt. 1, at 17 (“In most cases, the classified information the defense wants to use at trial will
   have been provided to the defendant by the government in the first place, through the discovery
   process.”); S. Rep. 96-823, at 6 (1980) (noting that Section 3 authorizes entry of a protective order
   for information given to a defendant in the course of Fed. R. Crim. P. 16(d)(1) discovery).
   14
      Nor is it at all evident from the cases cited in the OSC’s brief on the concept of defense attorneys
   acting as agents [ECF No. 162 pp. 4–8]. Those authorities support the general notion that
   fundamental principles of agency law apply to attorney-client relationships [ECF No. 162 pp. 4–
   8]. See, e.g., Link v. Wabash R. Co., 370 U.S. 626, 634 (1962) (holding that a defendant-principal
   is “deemed bound by the acts of his lawyer-agent and is considered to have ‘notice of all facts,
   notice of which can be charged upon the attorney’”) (quoting Smith v. Ayer, 101 U.S. 320, 326
   (1879)); New York v. Hill, 528 U.S. 110, 115 (2000) (same). They do not, however, stand for the
   notion that—by virtue of the agency relationship—the presence of an attorney-agent justifies
   barring the defendant-principal from reviewing discovery in his case or reading the word


                                                     11
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 12 of 15

                                                                 CASE NO. 23-80101-CR-CANNON


   of a defendant’s rights to discovery, except to impose an orderly process to permit more reasoned

   prosecutorial decision-making and to avoid unwarranted disclosure of classified information in a

   manner consistent with a defendant’s right to a fair trial.

          The OSC also tries to explain away the clear distinction in Section 2, which as noted, uses

   the term “any attorney of the defendant” in the same line alongside a reference to “defendant”

   [ECF No. 162 p. 7]. This argument creates the impression of plausibility but is unpersuasive.

   “[W]here Congress includes particular language in one section of a statute but omits it in another

   section of the same Act, it is generally presumed that Congress acts intentionally and purposely in

   the disparate inclusion or exclusion.” Russello v. United States, 464 U.S. 16, 23 (1983) (quoting

   United States v. Wong Kim Bo, 472 F.2d 720, 722 (5th Cir. 1972)). The same holds true here; if

   Congress had intended the term “defendant” in CIPA to mean “attorney of the defendant” alone,

   it could have specified as such as it did in Section 2. Yet it did not—choosing instead to use

   “defendant” uniformly throughout CIPA (and Rule 16) except in that singular reference to

   “attorney of the defendant” in Section 2. The OSC’s proffered explanation for the distinction in

   language is again to rely on the general rule that defendants are deemed bound by the acts of their

   lawyers, and then to justify Section 2 as a deviation from that rule [ECF No. 162 pp. 7–8]. But

   the common understanding of lawyers acting as agents does not support the OSC’s ultimate

   position here, which, as noted, is that “defendant” in Section 3 does not just mean “defendant

   (lawyer included)” but rather “lawyer alone, to the exclusion of defendant.” That position also

   generates even more confusion when read in the context of CIPA as a whole. The general

   presumption that a given term bears the same meaning throughout a statute absent congressional

   indication otherwise. See, e.g., Atl. Cleaners & Dyers v. United States, 286 U.S. 427, 433 (1932)


   “defendant” to exclude the defendant himself on matters of discovery.

                                                    12
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 13 of 15

                                                                  CASE NO. 23-80101-CR-CANNON


   (“Undoubtedly, there is a natural presumption that identical words used in different parts of the

   same act are intended to have the same meaning.”); Regions Bank v. Legal Outsource PA, 936

   F.3d 1184, 1192 (11th Cir. 2019) (applying the “whole-text canon”).             Here, the term “the

   defendant” is used repeatedly throughout CIPA to set forth various obligations and rights of “the

   defendant.” See, e.g., CIPA §§ 5–6. Yet the OSC’s complicated interpretation of this key word

   invariably generates additional convolution; when does “defendant” in CIPA include the lawyer,

   and when does it include the lawyer but exclude “the defendant” as suggested should be the case

   in Section 3 here? The answer is not discernable from the statutory text—which is yet another

   strong signal to decline the OSC’s reading. See In re Wild, 994 F.3d 1244, 1273 (11th Cir. 2021)

   (Pryor, C.J., concurring) (challenging the notion that a statutory term can be treated as a “linguistic

   chameleon that changes its meaning in different circumstances to serve whatever [desired]

   purpose”). In the end, whatever the contours of the OSC’s broad theory prohibiting a defendant’s

   access to discoverable information, the answer is not to change the natural meaning of a statutory

   word in Section 3 but rather to use the mechanism provided in CIPA to handle matters related to

   restricting discovery, which in the case of CIPA is Section 4.

          The OSC next tries to minimize the prescribed procedure codified in Section 4 for

   deletion/substitution of discovery by saying that, “once the Government discloses classified

   information to defense counsel, Section 4 no longer applies” [ECF No. 162 p. 9]. The text of

   CIPA does not support this position for the reasons stated above: Section 4 specifically refers to

   discoverable information made available to the defendant under the federal rules and then provides

   the United States a mechanism to seek to avoid disclosing it in full or in part. So again, we are

   left with the OSC’s broad and unconvincing theory, which is that the Court must change the

   meaning of the word “defendant’ to mean, essentially, “defense attorney to the exclusion of



                                                     13
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 14 of 15

                                                                CASE NO. 23-80101-CR-CANNON


   defendant.” The Court declines to do so. “Defendant” means what it says—defendant—and

   although providing discovery to a defendant reasonably contemplates the defendant’s retained or

   appointed agent reviewing the information too, it does not support the very different proposition

   that “defendant” means “not defendant.” If the OSC wants to restrict a defendant’s access to

   information provided in discovery—a matter still left for resolution—it must go through the proper

   mechanism for doing so in CIPA, and that procedure is rooted in Section 4, which specifically

   references deletion and/or substitution of discovery from “defendant.” CIPA § 4.15

          As an additional salvo to overcome the plain language of Section 3, the OSC argues that

   proceeding under Section 4 will be more inefficient than going through Section 3 as interpreted

   [ECF No. 162 pp. 15–16]. The Court is not amenable to distorting the provisions of CIPA

   because the OSC considers its preferred process more efficient. Nor does the Court deem it

   appropriate under the text of CIPA to take a burden of proof that Section 4 clearly places on the

   government and place it instead on defense lawyers forced to operate independently of their clients

   in the area of CIPA discovery. Finally, the Court is not persuaded to deviate from the ordinary

   language of Section 3 based on the examples of other protective orders styled as pure Section 3

   orders. Those district courts did not have occasion to grapple with the text of CIPA or its

   surrounding context, and no court of appeals has evaluated the particular scope of Section 3.

          For these reasons, the previously entered protective orders under Section 3 remain in place.

   It may be that the OSC meets its burden to restrict from Defendants whatever quantity of classified

   information it seeks to restrict. But Section 4 is the proper mechanism through which to do so,




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      The OSC agreed during the Sealed Hearing on September 12, 2023, that the classified
   information subject to its proposed protective order was discoverable pursuant to Rule 16(a)(1)(E)
   but has since walked back that position at least partially as reflected in the supplemental brief
   [ECF No. 162 pp. 13–14 n.5].
                                                   14
Case 9:23-cr-80101-AMC Document 202 Entered on FLSD Docket 11/01/2023 Page 15 of 15

                                                                CASE NO. 23-80101-CR-CANNON


   not Section 3.

           A final point. Nothing in this Order shall be construed to minimize the importance of

   protecting and avoiding disclosure of classified information in this case or in any case. To the

   contrary, the protective orders already entered implement that purpose through a variety of security

   procedures [ECF Nos. 150–152]. All the Court determines in this Order is that Section 3 is not

   the means by which the OSC can seek to shield discoverable information from the criminal

   defendants in this case. And again, nothing herein authorizes the disclosure of any classified

   information to any Defendant beyond the terms of the existing protective orders.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 1st day of November

   2023.

                                                        ____________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE



   cc:     counsel of record




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